






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00137-CV






Republic of Texas, et al., Appellants


v.


The State of Texas, et al., Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-05-001614, HONORABLE LORA J. LIVINGSTON, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		The trial court signed an order entitled "Judicial Findings of Fact and Conclusions
of Law" on May 4, 2005.  In an attempt to perfect an appeal from the trial court's order of May 4,
appellants filed a "Joint Notice of Interlocutory Appeals from Non-Final Orders and Judgments" on
December 18, 2006.  Assuming arguendo that Texas law permits an interlocutory appeal from the
trial court's order of May 4, see Tex. Civ. Prac. &amp; Rem. Code Ann. 51.014 (West Supp. 2006)
(allowing appeals from certain interlocutory orders), appellants were required to file their notice of
appeal within twenty days after the order was signed.  See Tex. R. App. P. 26.1(b), 28.1.  Because
appellants did not file a notice of appeal within twenty days after the trial court signed the order
appealed from and did not file a motion for extension of time as permitted under Tex. R. App. P.
26.3, we find that appellants' notice of appeal is untimely and fails to invoke the jurisdiction of this
Court. (1)  See In re K.A.F., 160 S.W.3d 923, 927 (Tex. 2005), cert. denied, 126 S. Ct. 483 (2005). 
Accordingly, we dismiss this appeal for want of jurisdiction.



						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   April 19, 2007

1.   Even assuming that the trial court's May 4 order was a final appealable judgment,
appellants' notice of appeal, filed more than thirty days after the order was signed, was still untimely. 
See Tex. R. App. P. 26.1.

